    Case 19-13310-BFK           Doc 19      Filed 10/22/19 Entered 10/22/19 08:24:51                   Desc Main
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                              UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF VIRGINIA

                                               Alexandria         Division

In re Gregory S Powers
        Susan K. Powers
                                                                     Case No.    19-13310-BFK

                                  Debtor(s)                          Chapter     7



                                       ORDER EXTENDING TIME
                             TO FILE LISTS, SCHEDULES AND STATEMENTS



        The above debtor(s) having timely filed a motion to extend the time for filing certain required lists, schedules
and statements pursuant to Local Rule 1007-1(B); it is, therefore

                                                                                      November 7, 2019
         ORDERED, under authority of Local Rule 1007-1(C), the time is extended to ____________________, for
filing the following:
All remaining Lists, Schedules & Statements




                                                            WILLIAM C. REDDEN
                                                            Clerk of Court

                                                               /s/ Angela R. Jones
                                                            By __________________________________________
                                                                           Deputy Clerk

      October 22, 2019
Date: _____________________________
                                                            NOTICE OF JUDGMENT OR ORDER
                                                            ENTERED ON DOCKET:
                                                            October 22, 2019
                                                            ________________________________




[oextflss ver 01/10]
